                                                                   JS-6 ID #:1196
     Case 5:20-cv-01941-MAA Document 24 Filed 11/24/21 Page 1 of 2 Page


 1   +TRACY L. WILKISON
     United States Attorney
 2   DAVID M. HARRIS
 3   Assistant United States Attorney
     Chief, Civil Division
 4
     CEDINA M. KIM
 5   Assistant United States Attorney
 6   Senior Trial Attorney, Civil Division
     GERALYN GULSETH, CSBN 160872
 7   Special Assistant United States Attorney
 8         Social Security Administration
           160 Spear St., Suite 800
 9         San Francisco, CA 94105
10         Telephone: (510) 970-4819
           Facsimile: (415) 744-0134
11
           Email: geralyn.gulseth@ssa.gov
12   Attorneys for Defendant
13                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     EASTERN DIVISION
15
     CURTIS FEASTER,                          )   No. EDCV 20-1941-MAA
16                                            )
           Plaintiff,                         )   _____________
                                                  [PROPOSED]
17                                            )
                  v.                          )   JUDGMENT OF REMAND
18                                            )
                                              )
19   KILOLO KIJAKAZI, Acting                  )
                                              )
20   Commissioner of Social Security,         )
                                              )
21         Defendant.                         )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment

25   (“Stipulation of Remand”) lodged concurrent with the lodging of the within Judgment
26   of Remand,
27         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
28   captioned action is remanded to the Commissioner of Social Security for further
     Case 5:20-cv-01941-MAA Document 24 Filed 11/24/21 Page 2 of 2 Page ID #:1197


 1   proceedings consistent with the Stipulation of Remand.
 2
     DATED: November 24, 2021
 3                                        HON. MARIA A. AUDERO
 4                                        UNITED STATES MAGISTRATE JUDGE
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
